               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        Civil Action: 5:16-cv-227

  CHARLES J. ELLEDGE,         )
                              )
                 Plaintiff,   )
                              )
          v.                  )
                              )        NOTICE OF APPEAL
  LOWE’S HOME CENTERS,        )
  LLC,                        )
                              )
                 Defendants. )
                              )
    _________________________________________________________

      Pursuant to Rules 3 and 4 of the Federal Rules of Appellate Procedure, the

plaintiff hereby appeals to the United States Court of Appeals for the Fourth Circuit

from the Order [Doc. #66] entered by United States District Court Judge Robert J.

Conrad, Jr., on December 20, 2018; and Judgment [Doc. #67] entered by United

States District Clerk, Frank G. Johns, on December 21, 2018, granting defendant’s

motion for summary judgment.

      This the 16th day of January, 2019.

                                       ATTORNEYS FOR PLAINTIFF

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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 16, 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the following counsel for defendants:

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